Case 23-19145-ABA                Doc 40          Filed 11/22/24 Entered 11/22/24 11:08:01                                   Desc Main
                                                Document      Page 1 of 1




   B2100A (Form 2100A) (12/15)


                             United States Bankruptcy Court
                                                                                  New Jersey
                             _______________ District Of _______________
         Charles G. Barnes, Sr. aka Charles George Barnes,
   In re ______________________________,
         Sr. aka Charles Barnes, Sr. aka Charles Barnes                      23-19145-ABA
                                                                    Case No. ________________
         aka Charles G. Barnes aka Charles George Barnes




                     TRANSFER OF CLAIM OTHER THAN FOR SECURITY
   A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a).
   Transferee hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the
   transfer, other than for security, of the claim referenced in this evidence and notice.

   MidFirst Bank                                                                Nationstar Mortgage LLC
   ______________________________________                                      ____________________________________
              Name of Transferee                                                           Name of Transferor

   Name and Address where notices to transferee                                 Court Claim # (if known):     4
   should be sent:                                                              Amount of Claim:      $79,599.74
    MidFirst Bank, Bankruptcy Department                                        Date Claim Filed:     12/15/2023
    999 NW Grand Boulevard, #110
    Oklahoma City, OK 73118-6077

          800-654-4566
   Phone: ______________________________                                               877-343-5602
                                                                               Phone: __________________________
   Last Four Digits of Acct #: ______________
                               *******0650                                     Last Four Digits of Acct. #: __________
                                                                                                            8212

   Name and Address where transferee payments
   should be sent (if different from above):
    MidFirst Bank, Bankruptcy Payments
    999 NW Grand Boulevard, #110
    Oklahoma City, OK 73118-6077
           800-654-4566
   Phone: _______________________________
   Last Four Digits of Acct #: _______________
                               *******0650



   I declare under penalty of perjury that the information provided in this notice is true and correct to the
   best of my knowledge and belief.

       /s/ Jenelle C Arnold
   By:__________________________________                                               11/21/2024
                                                                                Date:____________________________
           Transferee/Transferee’s Agent


   Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
